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                                       /s/ RHONDA K MASON
                                       Dated: 10/28/20




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